           Case 1:15-vv-01321-UNJ Document 60 Filed 07/28/17 Page 1 of 8




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 15-1321V
                                    Filed: February 8, 2017
                                        UNPUBLISHED

****************************
ENOS WISNIEWSKI,                       *
                                       *
                   Petitioner,         *     Joint Stipulation on Damages;
v.                                     *     Influenza (“Flu”); Shoulder Injury
                                       *     Related to Vaccine Administration
SECRETARY OF HEALTH                    *     (“SIRVA”);
AND HUMAN SERVICES,                    *     Special Processing Unit (“SPU”)
                                       *
                   Respondent.         *
                                       *
****************************
James Blumenstiel, Blumenstiel Falvo, LLC, Dublin, OH, for petitioner.
Glenn MacLeod, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On November 4, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) following an influenza (“flu”) vaccine he received on
September 12, 2014. Petition at 1; Stipulation, filed February 7, 2017, at ¶¶ 2, 4.
Petitioner further alleges the vaccine was administered within the United States,
petitioner suffered the residual effects of this injury for more than six months, and there
has been no prior award or settlement of a civil action for damages on his behalf.
Petition at 1-3; Stipulation at ¶¶ 3-5. “Respondent denies that the flu vaccine caused
petitioner’s alleged pain, numbness and tingling in his left arm, wrist and hand, or any
other injury, and further denies that his current disabilities are a sequela of a vaccine-
related injury. ” Stipulation at ¶ 6.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:15-vv-01321-UNJ Document 60 Filed 07/28/17 Page 2 of 8



        Nevertheless, on February 7, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

               A lump sum of $496.72, which amount represents reimbursement of
                a lien for services provided to petitioner, in the form of a check
                payable jointly to petitioner and Ohio Tort Recovery Unit, 350
                Worthington Rd., Suite G, Westerville, Ohio 43082; and

               A lump sum of $65,000.00 in the form of a check payable to
                petitioner. Stipulation at ¶ 8. This amount represents compensation for
                all items of damages that would be available under 42 U.S.C. § 300aa-
                15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
Case 1:15-vv-01321-UNJ Document 60 Filed 07/28/17 Page 3 of 8
Case 1:15-vv-01321-UNJ Document 60 Filed 07/28/17 Page 4 of 8
Case 1:15-vv-01321-UNJ Document 60 Filed 07/28/17 Page 5 of 8
Case 1:15-vv-01321-UNJ Document 60 Filed 07/28/17 Page 6 of 8
Case 1:15-vv-01321-UNJ Document 60 Filed 07/28/17 Page 7 of 8
Case 1:15-vv-01321-UNJ Document 60 Filed 07/28/17 Page 8 of 8
